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7
8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
            v.                                   Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Simply Shawwa Inc, a California           Act; Unruh Civil Rights Act
14     Corporation
15               Defendants.
16
17           Plaintiff Scott Johnson complains of Simply Shawwa Inc, a California
18   Corporation; and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
22
     level C-5 quadriplegic. He cannot walk and has significant manual dexterity
23
     impairments. He uses a wheelchair for mobility and has a specially equipped
24
     van.
25
       2. Defendant Simply Shawwa Inc owned The Don’s Deli located at or
26
     about 121 S. Frances St., Sunnyvale, California, between October 2021 and
27
     December 2021.
28


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1      3. Defendant Simply Shawwa Inc owns The Don’s Deli (“Restaurant”)
2    located at or about 121 S. Frances St., Sunnyvale, California, currently.
3      4. Plaintiff does not know the true names of Defendants, their business
4    capacities, their ownership connection to the property and business, or their
5    relative responsibilities in causing the access violations herein complained of,
6    and alleges a joint venture and common enterprise by all such Defendants.
7    Plaintiff is informed and believes that each of the Defendants herein is
8    responsible in some capacity for the events herein alleged, or is a necessary
9    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
10   the true names, capacities, connections, and responsibilities of the Defendants
11   are ascertained.
12
13     JURISDICTION & VENUE:
14     5. The Court has subject matter jurisdiction over the action pursuant to 28
15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
17     6. Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising from the same nucleus of operative facts and arising out of
19   the same transactions, is also brought under California’s Unruh Civil Rights
20   Act, which act expressly incorporates the Americans with Disabilities Act.
21     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
22   founded on the fact that the real property which is the subject of this action is
23   located in this district and that Plaintiff's cause of action arose in this district.
24
25     FACTUAL ALLEGATIONS:
26     8. Plaintiff went to the Restaurant in October 2021 and December 2021
27   with the intention to avail himself of its goods or services motivated in part to
28   determine if the defendants comply with the disability access laws.


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1      9. The Restaurant is a facility open to the public, a place of public
2    accommodation, and a business establishment.
3      10. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
4    to provide wheelchair accessible inside and outside dining surfaces in
5    conformance with the ADA Standards as it relates to wheelchair users like the
6    plaintiff.
7      11. The Restaurant provides dining surfaces to its customers but fails to
8    provide wheelchair accessible inside and outside dining surfaces.
9      12. A couple of problems that plaintiff encountered was the lack of
10   sufficient knee or toe clearance under the inside and outside dining surfaces
11   for wheelchair users. Additionally, other inside dining surfaces were too high.
12     13. Plaintiff believes that there are other features of the dining surfaces that
13   likely fail to comply with the ADA Standards and seeks to have fully compliant
14   dining surfaces for wheelchair users.
15     14. On information and belief, the defendants currently fail to provide
16   wheelchair accessible dining surfaces.
17     15. The failure to provide accessible facilities created difficulty and
18   discomfort for the Plaintiff.
19     16. These barriers relate to and impact the plaintiff’s disability. Plaintiff
20   personally encountered these barriers.
21     17. As a wheelchair user, the plaintiff benefits from and is entitled to use
22   wheelchair accessible facilities. By failing to provide accessible facilities, the
23   defendants denied the plaintiff full and equal access.
24     18. The defendants have failed to maintain in working and useable
25   conditions those features required to provide ready access to persons with
26   disabilities.
27     19. The barriers identified above are easily removed without much
28   difficulty or expense. They are the types of barriers identified by the


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1    Department of Justice as presumably readily achievable to remove and, in fact,
2    these barriers are readily achievable to remove. Moreover, there are numerous
3    alternative accommodations that could be made to provide a greater level of
4    access if complete removal were not achievable.
5      20. Plaintiff will return to the Restaurant to avail himself of its goods or
6    services and to determine compliance with the disability access laws once it is
7    represented to him that the Restaurant and its facilities are accessible. Plaintiff
8    is currently deterred from doing so because of his knowledge of the existing
9    barriers and his uncertainty about the existence of yet other barriers on the
10   site. If the barriers are not removed, the plaintiff will face unlawful and
11   discriminatory barriers again.
12     21. Given the obvious and blatant nature of the barriers and violations
13   alleged herein, the plaintiff alleges, on information and belief, that there are
14   other violations and barriers on the site that relate to his disability. Plaintiff will
15   amend the complaint, to provide proper notice regarding the scope of this
16   lawsuit, once he conducts a site inspection. However, please be on notice that
17   the plaintiff seeks to have all barriers related to his disability remedied. See
18   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
19   encounters one barrier at a site, he can sue to have all barriers that relate to his
20   disability removed regardless of whether he personally encountered them).
21
22   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
23   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
24   Defendants.) (42 U.S.C. section 12101, et seq.)
25     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
26   again herein, the allegations contained in all prior paragraphs of this
27   complaint.
28     23. Under the ADA, it is an act of discrimination to fail to ensure that the


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1    privileges, advantages, accommodations, facilities, goods and services of any
2    place of public accommodation is offered on a full and equal basis by anyone
3    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
4    § 12182(a). Discrimination is defined, inter alia, as follows:
5             a. A failure to make reasonable modifications in policies, practices,
6                or procedures, when such modifications are necessary to afford
7                goods,     services,   facilities,   privileges,     advantages,   or
8                accommodations to individuals with disabilities, unless the
9                accommodation would work a fundamental alteration of those
10               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
11            b. A failure to remove architectural barriers where such removal is
12               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
13               defined by reference to the ADA Standards.
14            c. A failure to make alterations in such a manner that, to the
15               maximum extent feasible, the altered portions of the facility are
16               readily accessible to and usable by individuals with disabilities,
17               including individuals who use wheelchairs or to ensure that, to the
18               maximum extent feasible, the path of travel to the altered area and
19               the bathrooms, telephones, and drinking fountains serving the
20               altered area, are readily accessible to and usable by individuals
21               with disabilities. 42 U.S.C. § 12183(a)(2).
22     24. When a business provides dining surfaces, it must provide accessible
23   dining surfaces.
24     25. Here, accessible dining surfaces have not been provided in
25   conformance with the ADA Standards.
26     26. The Safe Harbor provisions of the 2010 Standards are not applicable
27   here because the conditions challenged in this lawsuit do not comply with the
28   1991 Standards.


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1       27. A public accommodation must maintain in operable working condition
2    those features of its facilities and equipment that are required to be readily
3    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
4       28. Here, the failure to ensure that the accessible facilities were available
5    and ready to be used by the plaintiff is a violation of the law.
6
7    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
8    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
9    Code § 51-53.)
10      29. Plaintiff repleads and incorporates by reference, as if fully set forth
11   again herein, the allegations contained in all prior paragraphs of this
12   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
13   that persons with disabilities are entitled to full and equal accommodations,
14   advantages, facilities, privileges, or services in all business establishment of
15   every kind whatsoever within the jurisdiction of the State of California. Cal.
16   Civ. Code §51(b).
17      30. The Unruh Act provides that a violation of the ADA is a violation of the
18   Unruh Act. Cal. Civ. Code, § 51(f).
19      31. Defendants’ acts and omissions, as herein alleged, have violated the
20   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
21   rights to full and equal use of the accommodations, advantages, facilities,
22   privileges, or services offered.
23      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
24   discomfort or embarrassment for the plaintiff, the defendants are also each
25   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
26   (c).)
27      33. Although the plaintiff encountered frustration and difficulty by facing
28   discriminatory barriers, even manifesting itself with minor and fleeting


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1    physical symptoms, the plaintiff does not value this very modest physical
2    personal injury greater than the amount of the statutory damages.
3
4           PRAYER:
5           Wherefore, Plaintiff prays that this Court award damages and provide
6    relief as follows:
7        1. For injunctive relief, compelling Defendants to comply with the
8    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
9    plaintiff is not invoking section 55 of the California Civil Code and is not
10   seeking injunctive relief under the Disabled Persons Act at all.
11       2. For equitable nominal damages for violation of the ADA. See
12   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
13   and any other equitable relief the Court sees fit to grant.
14       3. Damages under the Unruh Civil Rights Act, which provides for actual
15   damages and a statutory minimum of $4,000 for each offense.
16       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
17   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
18
19   Dated: February 28, 2022                CENTER FOR DISABILITY ACCESS
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21                                           By: _______________________
22                                                  Amanda Seabock, Esq.
                                                    Attorney for plaintiff
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